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                EXCLUSIVE          HEALTHCARE



              Medicare Paid Insurers Billions for
              Questionable Home Diagnoses,
              Watchdog Finds
              Nurse visits said to be worth $1,869 each for Medicare Advantage
              companies

              By Christopher Weaver Follow and Anna Wilde Mathews Follow
              Updated Oct. 24, 2024 11:58 am ET




              Erin Bliss, assistant inspector general for evaluation and inspections, testifying on Capitol Hill last year.
              PHOTO: JACQUELYN MARTIN/ASSOCIATED PRESS


              Private Medicare insurers got about $4.2 billion in extra federal payments in
              2023 for diagnoses from home visits the companies initiated, even though they
              led to no treatment, a new inspector general’s report says.

              The extra payments were triggered by diagnoses documented based on the
              visits, including potentially inaccurate ones, for which patients received no
              other medical services, the report says. Insurers offering private plans under



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             Medicare, known as Medicare Advantage, are paid more when patients have
             costly conditions.

             Each visit was worth $1,869 on average to the insurers, according to the Office of
             Inspector General for the Department of Health and Human Services. The
             findings are similar to those of a Wall Street Journal investigation published in
             August. It showed that insurers between 2019 and 2021 pocketed an average of
             $1,818 for each visit based on diagnoses for which people received no other
             treatment.

             The OIG recommended in Thursday’s report for the first time that Medicare
             restrict or even cut off payments for diagnoses from these visits.

             The Medicare agency disagreed with the recommendation to restrict home visit
             payments, citing limitations of the study, according to the report. In a statement
             to the Journal, the Medicare agency said it is committed to ensuring that
             diagnoses, including those from home visits, are accurate.

             Medicare Advantage was conceived as a way to lower costs and improve care in
             the program for seniors and disabled people. But researchers and the Medicare
             Payment Advisory Commission, a nonpartisan watchdog agency known as
             MedPAC, have found that it has wound up costing more than traditional
             Medicare, in part because insurers have found ways to draw ever-greater
             payments from the pay-for-diagnoses system.




             UnitedHealth has said that three million ‘gaps in care’ were identified through home visits in 2023.
             PHOTO: TIFFANY HAGLER-GEARD/BLOOMBERG NEWS



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             The home visits, also called health risk assessments, are an important part of
             that effort. During visits, nurse practitioners, or sometimes doctors, take
             medical histories, review medications and run simple diagnostic tests,
             sometimes coming up with novel diagnoses that the patients’ regular doctors
             had never documented.

             “We’re seeing that some Medicare Advantage companies are making billions
             from the health risk assessment diagnoses without providing care for the
             conditions that they identify,” said Erin Bliss, assistant inspector general for
             evaluation and inspections.

             That could mean some of the diagnoses are false, she said. Or, if they are
             accurate, the insurers making them aren’t connecting patients to the care they
             need, even as the companies are paid extra based on the supposed cost of
             treating the conditions. “Profiting off enrollees’ medical conditions without
             providing treatment for those conditions is wrong,” she said.

             Bliss said the OIG’s latest findings and the conclusions of the Journal
             investigation are “highly consistent and pointing in the same direction.”

             The diagnoses that triggered home-visit payments documented in the OIG
             report were often for illnesses that might be difficult to confirm without a
             laboratory or other equipment. Two of the top diagnoses driving the payments
             were a form of rheumatoid arthritis, which might require lab work and X-rays to
             diagnose, along with secondary hyperaldosteronism, a condition that can be
             confirmed with blood work.

             “There are definitely conditions where you might wonder, ‘Can they really, you
             know, identify that by a visit to someone’s home?’ ” said Jacqualine Reid, an OIG
             analyst and the lead author of the report.




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             Humana says health risk assessments help improve patient outcomes. PHOTO: JON
             CHERRY/BLOOMBERG NEWS


             Another Journal article, from July, found that insurers received about $50 billion
             in payments from diagnoses they themselves added to patients’ records,
             including many that were demonstrably false, such as diabetic cataract cases
             that had already been cured.

             The OIG analysis also examined health risk assessments at doctors’ offices,
             worth about $365 a visit to insurers, as well as those done through telehealth.
             The report also included diagnoses insurers added following so-called chart
             reviews of home, telehealth or office assessments. In total, Medicare paid
             insurers $7.5 billion in 2023 for diagnoses recorded just through those practices.

             One major Medicare Advantage insurer received about two-thirds of the total
             payments stemming from home visits and chart reviews, despite accounting for
             only 28% of the program’s enrollment, the report said, without naming the
             company. An OIG official confirmed to the Journal that the company was
             UnitedHealth Group, the Medicare Advantage market leader.

             “A misleading, narrow, and incomplete view of risk adjustment data is being
             used to draw inaccurate conclusions about the value of in-home care for
             America’s most vulnerable seniors in Medicare Advantage,” a UnitedHealth
             spokesman said of the OIG findings after this article was published. He said the
             home visits are comprehensive assessments by highly-trained clinicians that
             take 45 to 60 minutes and help “identify and drive needed follow-on care for the
             vast majority of the patients with whom we engage.”

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             The Journal’s recent analysis showed that UnitedHealth extracted far higher
             payments for diagnoses tied to home visits than other large insurers—$2,735 on
             average over the three years ending in 2021—and accounted for most of the
             payments.

             In a statement on its corporate website following the Journal’s reports,
             UnitedHealth said that its home visits are valuable for patients, and that the
             finding that diagnoses are questionable or wrong “is unsubstantiated, and the
             WSJ presented no credible evidence to support this claim.”

             In all, UnitedHealth received $3.7 billion from all types of health risk
             assessments activities in 2023, the OIG report said. Humana, the No. 2 Medicare
             Advantage insurer, generated $1.7 billion from health risk assessments and
             associated chart reviews.

             A Humana spokesman said that health risk assessments help improve patient
             outcomes and that findings are always referred back to patients’ own physicians
             for follow-up. He said Humana would continue to work with Medicare to improve
             the assessments’ transparency and accuracy.

             The Justice Department has pursued a number of cases that accused Medicare
             insurers of inflating payments based on diagnoses. Last year Cigna Group agreed
             to pay $172 million to settle such allegations. The company admitted to adding
             diagnoses that weren’t supported by patients’ medical records. An OIG official
             declined to comment on any ongoing investigations.

             The report is the latest in a series by OIG pointing to the potential for Medicare
             Advantage overpayments due to insurer-driven diagnoses, such as those from
             home visits.

             The newest findings propelled the oversight agency’s strongest
             recommendations to rein in the tactics yet. In addition to restricting or cutting
             off payments based solely on home visit diagnoses, the inspector general
             recommended targeted audits of such diagnoses to determine whether they are
             accurate.

             MedPAC has previously called for the Medicare agency, the Centers for Medicare
             and Medicaid Services, to stop allowing diagnoses drawn from health risk

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             assessments to affect insurers’ payments.

             The Medicare agency disagreed with that recommendation. It argued that OIG’s
             report hadn’t fully proved problems with the home visit diagnoses because the
             investigators didn’t have access to patients’ medical records, and that data made
             it difficult to identify the home visits definitively. The Medicare agency said it
             would consider targeted audits after further analysis.

             The agency said it believed recent changes to which diagnoses trigger payments
             —now being phased in—had already addressed a third recommendation to study
             diagnoses detected at high rates through health risk assessments.

             Write to Christopher Weaver at Christopher.Weaver@wsj.com and Anna Wilde
             Mathews at Anna.Mathews@wsj.com



             We Want to Hear From You
             Have you had a Medicare Advantage plan? Share your experience with us.




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             Appeared in the October 24, 2024, print edition as 'Medicare Watchdog Faults Home-Visit Pay'.

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